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     i~

 6 +~


 7 E~
 8 ~                                   UNITED STATES DISTRICT COURT

 9 '`                                 CENTRAL DISTRICT OF CALIFORNIA

10'UNITED STATES OF AMERICA,                         )     Case No.

1 1 "'                                 Plaintiff,    )                                 J-~~3~
12                    v.                             )     ORDER OF DETENTION AFTER HEARIN(
                                                                 (18 U.S.C. § 3142(1))


14                                     Defendant.     )

1~

16                                                        z.

17               A.        ('~) On motion of the Government involving an alleged

l8 !                       1.   ( )     crime of violence;

19                         2.   (./~    offense       with          maximum sentence of life

20                                      imprisonment or death;

2i '!                      3. (~        narcotics or controlled substance offense wit

22                                      maximum     sentence        of        ten      or   more      years   (2:

23                                      U.S.C. §~        801,/951, et. sea.,,/955a);

24                         4.   ( )     felony - defendant convicted of two or more

25                                      prior offenses described above.

2b               B.        On motion (~by the Government)/( ) (by the Court sup

27                         sponte involving)

2b                         1.   (serious risk defendant will flee;



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   ~~
  '~
   ,,;~,~
 l ~                         2.   ( ) serious risk defendant will

 2 ~~                             a. ( ) obstruct or attempt to obstruct justice;

 3                                b. ( )threaten, injure, or intimidate a prospective

 ~                                      witness or juror or attempt to do so.
       ~
 ~                                                    II.

 6                 The Court finds no condition or combination of conditions will

 7          reasonable assure:

 8                 A.        (~ appearance of defendant as required; and/or

 9                 B.        (~ safety of any person or the community;

10 '                                                 III.

11                 The Court has considered:

12 ',              A.        (~ the nature and circumstances of the offense;

13                 B.        ~ the weight of evidence against the defendant;

1~                 C.        (    the history and characteristics of the defendant;

l~                 D.        (    the nature and seriousness of the danger to any

lb                           person or to the community.

17                                                    IV.

i~                 The Court concludes:

19                 A.        ( ) Defendant poses a risk to the safety of other persons

20                           or the community because•

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2b

2" ///

2~          ///



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  =            B.        ( )   History and characteristics indicate a serious risk

                               that defendant will flee because•

 3

 4

  J

 5

 7             C.        ( )   A serious risk exists that defendant will:

 8                             1.   ( ) obstruct     or   attempt to      obstruct         justice;

  a                            2. ( )threaten, injure or intimidate a witness/

10                             juror; because:

11

12

13

l~             D.        (~/~ Defendant has not rebutted by sufficient evidence tc

1~                             the contrary the presumption provided in 18 U.S.C.

'
_5                             ~ 3142 (e).

1"1            IT IS ORDERED that defendant be detained prior to trial.

i~             IT IS FURTHER ORDERED that defendant be confined as far a~

~
~ )     practicable in a corrections facility separate from persons awaitinc

2~      or serving sentences or person held pending appeal.

'
2              IT IS FURTHER ORDERED that defendant be afforded reasonablE

2~      opportunity for private consultation with counsel.

2~                             ~~~ ~~

2~ ~           DATED

~ ~;                                        '~~iU~ ~~ ~                               ~ ~
                                                       PATRICK J. WALSH
~'".'                                             UNITED STATES MAGISTRATE JUDGE




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